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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-1946V
                                          UNPUBLISHED


    GLENDA KELLETT,                                             Chief Special Master Corcoran

                         Petitioner,                            Filed: May 23, 2022
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Guillain-
                                                                Barre Syndrome (GBS)
                         Respondent.


Maximillian J. Muller, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Emily H. Manoso, U.S. Department of Justice, Washington, DC, for Respondent.


                                 DECISION AWARDING DAMAGES1

       On December 23, 2019, Glenda Kellett filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered Guillain-Barré Syndrome (GBS)
caused-in-fact by the influenza vaccine she received on December 31, 2016. Petition at
¶¶ 2, 32. The case was assigned to the Special Processing Unit of the Office of Special
Masters.

      On October 9, 2020, a ruling on entitlement was issued, finding Petitioner entitled
to compensation for her GBS. On May 19, 2022, Respondent filed a proffer on award of
compensation (“Proffer”) indicating Petitioner should be awarded compensation in the
amount of $120,000.00 for her actual pain and suffering, $13,136.72 for expenses
expected to be incurred during the first year after Judgment as described in the life care

1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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plan and illustrated in the chart attached at Tab A, and an amount sufficient to purchase
an annuity contract as described in II.B. of the Proffer. Proffer at 2-3. In the Proffer,
Respondent represented that Petitioner agrees with the proffered award. Id. Based on
the record as a whole, I find that Petitioner is entitled to an award as stated in the Proffer.

        Pursuant to the terms stated in the attached Proffer, I award the following:

        A. A lump sum in the amount of $133,136.72, representing compensation in
           the amounts of $120,000.00 for actual pain and suffering and $13,136.72
           for unreimbursable expenses during the first year after Judgment, in the
           form of a check payable to Petitioner; and

        B. An amount sufficient to purchase the annuity contract described in
           Section II.B of the Proffer, representing compensation for additional
           unreimbursable expenses.

       The Clerk of Court is directed to enter judgment in accordance with this decision.3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS

                                                  )
GLENDA KELLETT,                                   )
                                                  )
               Petitioner,                        )
                                                  )    No. 19-1946V
v.                                                )    Chief Special Master Corcoran
                                                  )    ECF
SECRETARY OF HEALTH AND HUMAN                     )
SERVICES,                                         )
                                                  )
               Respondent.                        )
                                                  )

             RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On October 8, 2020, the Secretary of Health and Human Services (“respondent”) filed his

Rule 4(c) report concluding that petitioner suffered an injury that is compensable under the

National Childhood Vaccine Injury Act of 1986, as amended, 42 U.S.C. §§ 300aa-1 to -34, and

on November 18, 2020, the Chief Special Master issued a Ruling on Entitlement, finding

petitioner entitled to compensation. See ECF Docs. No. 17, 20. Specifically, based on

respondent’s recommendation, the Court found petitioner entitled to compensation for Guillain-

Barré syndrome and related sequelae that she sustained following the administration of an

influenza vaccination on December 31, 2016, and that petitioner’s claim satisfies the

requirements necessary to qualify as a Table injury under the Vaccine Injury Table. 42 C.F.R.

§§ 100.3(a)(XIV)(D), (c)(15). Respondent now proffers that petitioner receive an award as

follows:

I.     Items of Compensation

       A.      Life Care Items

       Respondent engaged life care planner Laura E. Fox, MSN, BSN, RN, CNLCP, and

petitioner engaged rehabilitation counselor Roberta Hurley, to provide an estimation of
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petitioner’s future vaccine-injury related needs. For the purposes of this proffer, the term

“vaccine related” is as described in the respondent’s Rule 4(c) Report. All items of

compensation identified in the life care plan are supported by the evidence, and are illustrated by

the chart entitled Appendix A: Items of Compensation for Glenda Kellett, attached hereto as Tab

A. Respondent proffers that petitioner should be awarded all items of compensation set forth in

the life care plan and illustrated by the chart attached at Tab A. Petitioner agrees.

          B.       Pain and Suffering

          Respondent proffers that petitioner should be awarded $120,000.00 in actual and

projected pain and suffering. This amount reflects that any award for projected pain and

suffering has been reduced to net present value. See 42 U.S.C. § 300aa-15(a)(4). Petitioner

agrees.

II.       Form of the Award

          The parties recommend that the compensation provided to petitioner should be made

through a combination of lump sum payments and future annuity payments as described below,

and request that the Chief Special Master’s decision and the Court’s judgment award the

following:1

          A. A lump sum payment of $133,136.72, representing compensation for life care

expenses expected to be incurred during the first year after judgment ($13,136.72) and pain and

suffering ($120,000.00), in the form of a check payable to petitioner, Glenda Kellett.




          1
         Should petitioner die prior to entry of judgment, the parties reserve the right to move
the Court for appropriate relief. In particular, respondent would oppose any award for future
medical expenses, future lost earnings, and future pain and suffering.

                                                  2
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       B. An amount sufficient to purchase an annuity contract,2 subject to the conditions

described below, that will provide payments for the life care items contained in the life care plan,

as illustrated by the chart at Tab A, attached hereto, paid to the life insurance company3 from

which the annuity will be purchased.4 Compensation for Year Two (beginning on the first

anniversary of the date of judgment) and all subsequent years shall be provided through

respondent’s purchase of an annuity, which annuity shall make payments directly to petitioner,

Glenda Kellett, only so long as petitioner is alive at the time a particular payment is due. At the

Secretary’s sole discretion, the periodic payments may be provided to petitioner in monthly,

quarterly, annual, or other installments. The “annual amounts” set forth in the chart at Tab A

describe only the total yearly sum to be paid to petitioner and do not require that the payment be

made in one annual installment.




       2
         In respondent’s discretion, respondent may purchase one or more annuity contracts
from one or more life insurance companies.
       3
          The Life Insurance Company must have a minimum of $250,000,000 capital and
surplus, exclusive of any mandatory security valuation reserve. The Life Insurance Company
must have one of the following ratings from two of the following rating organizations:

               a. A.M. Best Company: A++, A+, A+g, A+p, A+r, or A+s;

               b. Moody's Investor Service Claims Paying Rating: Aa3, Aa2, Aa1, or Aaa;

               c. Standard and Poor's Corporation Insurer Claims-Paying Ability Rating: AA-,
               AA, AA+, or AAA;

               d. Fitch Credit Rating Company, Insurance Company Claims Paying Ability
               Rating: AA-, AA, AA+, or AAA.
       4
         Petitioner authorizes the disclosure of certain documents filed by the petitioner in this
case consistent with the Privacy Act and the routine uses described in the National Vaccine
Injury Compensation Program System of Records, No. 09-15-0056.
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       1.       Growth Rate

       Respondent proffers that a four percent (4%) growth rate should be applied to all life care

items. Thus, the benefits illustrated in the chart at Tab A that are to be paid through annuity

payments should grow as follows: four percent (4%) compounded annually from the date of

judgment for all items. Petitioner agrees.

       2.       Life-contingent annuity

       Petitioner will continue to receive the annuity payments from the Life Insurance

Company only so long as she, Glenda Kellett, is alive at the time that a particular payment is

due. Written notice shall be provided to the Secretary of Health and Human Services and the

Life Insurance Company within twenty (20) days of Glenda Kellett’s death.

       3.       Guardianship

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

III.   Summary of Recommended Payments Following Judgment

       A.       Lump Sum paid to petitioner, Glenda Kellett:                         $133,136.72

       B.       An amount sufficient to purchase the annuity contract described
                above in section II.B.




                                              Respectfully submitted,

                                              BRIAN M. BOYNTON
                                              Principal Deputy Assistant Attorney General

                                              C. SALVATORE D’ALESSIO
                                              Acting Director
                                              Torts Branch, Civil Division

                                              HEATHER L. PEARLMAN
                                              Deputy Director
                                              Torts Branch, Civil Division

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                                    TRACI R. PATTON
                                    Assistant Director
                                    Torts Branch, Civil Division

                                    s/Emily H. Manoso
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Dated:   May 19, 2022




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